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  14                      UNITED STATES DISTRICT COURT
  15       CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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  17   BALBOA CAPITAL CORPORATION, Case No. 8:22-cv-01857-JVS-DFM
  18   a California corporation,   [Honorable James V. Selna, Dept. 10C]
  19                     Plaintiff,
                                             AMENDED JUDGMENT NUNC PRO
  20               vs.                       TUNC [43]
  21   JAAM TRANSPORT LLC, a Florida
  22   limited liability company; JUAN
       LUCIANO SANTIAGO, an individual;
  23   and DOES 1 through 10, inclusive,
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                         Defendants.
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                                              AMENDED JUDGMENT NUNC PRO TUNC
                                                    Case No.: 8:22-cv-01857-JVS-DFM
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   1                     AMENDED JUDGMENT NUNC PRO TUNC
   2         On February 28, 2024, this Court granted Balboa Capital Corporation’s
   3   (“Balboa”) Motion for Summary Judgment against defendants JAAM Transport
   4   LLC (“JAAM”), and Juan Luciano Santiago (“Santiago”) (collectively,
   5   “Defendants”). (Dkt. No. 33.) Specifically, this Court granted summary judgment
   6   in favor of Balboa on its first cause of action for Breach of Equipment Financing
   7   Agreement (Breach of Contract) against JAAM, on its second cause of action for
   8   Breach of Guaranty (Breach of Contract) against Santiago, and on Defendants’
   9   affirmative defense of Unconscionability. On June 3, 2024, this Court granted
  10   Balboa’s Motion for Attorneys’ Fees in the amount of $60,889.40 in favor of
  11   Balboa against Defendants. (Dkt. No. 42.)
  12         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:
  13         1.     Judgment be entered in this matter, in favor of Balboa, and against
  14   Defendants, jointly and severally, in the principal amount of $52,524.12, plus
  15   $8,777.90 in prejudgment interest, for a total amount of $61,302.02, and such other
  16   costs and attorneys’ fees, pursuant to post-judgment motion practice;
  17         2.     Pursuant to Balboa’s Motion for Attorneys’ Fees, (Dkt. No. 42),
  18   Balboa is entitled to attorneys’ fees in the amount of $60,889.40;
  19         3.     Pursuant to Balboa’s Application to the Clerk to Tax Costs, (Dkt. No.
  20   41), Balboa is entitled to costs in the amount of $673.90;
  21         4.     Based on the foregoing, the judgment shall be amended in this matter
  22   nunc pro tunc as of June 3, 2024, in favor of Balboa, and against Defendants,
  23   jointly and severally, in the amount of $122,865.32; and
  24   //
  25   //
  26   //
  27   //
  28   //
                                                 1
                                                     AMENDED JUDGMENT NUNC PRO TUNC
                                                           Case No.: 8:22-cv-01857-JVS-DFM
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   1        5.    The Clerk is ordered to enter this Judgment forthwith.
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   3      IT IS SO ORDERED.
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   5   DATED: June 7, 2024           _____________________________________
   6                                       The Honorable James V. Selna
   7                                       JUDGE OF THE DISTRICT COURT
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                                                  AMENDED JUDGMENT NUNC PRO TUNC
                                                        Case No.: 8:22-cv-01857-JVS-DFM
